        Case 1:07-vv-00111-UNJ Document 128 Filed 03/27/15 Page 1 of 13




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 07-111V
                                       Filed: March 6, 2015

* * * * * * * * * * * * * * * *                               UNPUBLISHED
KELLY BUTLAND, as the Legal                 *
Representative of Her Minor Daughter, L.B., *
                                            *                 Special Master Hamilton-Fieldman
              Petitioner,                   *
                                            *                 Joint Stipulation on Damages;
v.                                          *                 Measles-Mumps-Rubella (“MMR”)
                                            *                 Vaccine; Opsoclonus Myoclonus
SECRETARY OF HEALTH                         *                 Syndrome (“OMS”).
AND HUMAN SERVICES,                         *
                                            *
              Respondent.                   *
* * * * * * * * * * * * * * * *

Curtis Webb, Webb, Webb, & Guerry, Twin Falls, Idaho, for Petitioner.
Traci Patton, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

       On February 16, 2007, Kelly Butland (“Petitioner”) filed a petition on behalf of her minor
daughter, L.B., pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§
300aa-1 to -34 (2006). Petitioner alleged that, as a result of the administration of measles-
mumps rubella (“MMR”) and Varicella vaccines on December 22, 2004, L.B. suffered from
Opsoclonus Myoclonus syndrome (“OMS”). On June 19, 2009, the previously-assigned special
master ruled that Petitioner is entitled to compensation.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
        Case 1:07-vv-00111-UNJ Document 128 Filed 03/27/15 Page 2 of 13




       On March 4, 2015, the parties filed a stipulation regarding the amount of damages to be
awarded to Petitioner. Respondent continues to maintain her contrary position, but will not seek
review of the undersigned’s determination of entitlement upon its memorialization as a
reviewable decision. The parties thus agree to the joint stipulation, attached hereto as Appendix
A. The undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $437,534.71, which amount represents compensation for lost future
       earnings and pain and suffering ($425,000.00) and first year life care expenses
       ($12,534.71), in the form of a check payable to Petitioner as guardian/conservator of
       the estate of L.B. for the benefit of L.B. No payment shall be made until Petitioner
       provides Respondent with documentation establishing that she has been appointed
       as the guardian/conservator of L.B.’s estate;

       A lump sum of $6,281.00, which amount represents compensation for past
       unreimbursable expenses, in the form of a check payable to Petitioner, Kelly
       Butland;

       A lump sum of $13,034.00, which amount represents reimbursement of a lien for
       services provided to L.B., in the form of a check payable jointly to Petitioner and

                                   Holloway Credit Solutions, LLC
                                          P.O. Box 230609
                                    Montgomery, AL 36123-5609
                                          Attn: Ms. Lang

       Petitioner agrees to endorse the check to Holloway Credit Solutions, LLC.

       A lump sum of $6,210.00, which amount represents reimbursement of a lien for
       services provided to L.B., in the form of a check payable jointly to Petitioner and

                                        Children’s Hospital
                                           P.O. Box 2252
                                    Birmingham, AL 35246-0095
                                   Medical Reference No. 1237366

       Petitioner agrees to endorse the check to Children’s Hospital.

       An amount sufficient to purchase the annuity contract described in paragraph 10 of
       the Stipulation, paid to the life insurance company from which the annuity will be
       purchased.

       Stipulation ¶ 8.


                                                2
        Case 1:07-vv-00111-UNJ Document 128 Filed 03/27/15 Page 3 of 13




       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                3
Case 1:07-vv-00111-UNJ Document 128
                                119 Filed 03/27/15
                                          03/04/15 Page 4
                                                        1 of 13
                                                             10
Case 1:07-vv-00111-UNJ Document 128
                                119 Filed 03/27/15
                                          03/04/15 Page 5
                                                        2 of 13
                                                             10
Case 1:07-vv-00111-UNJ Document 128
                                119 Filed 03/27/15
                                          03/04/15 Page 6
                                                        3 of 13
                                                             10
Case 1:07-vv-00111-UNJ Document 128
                                119 Filed 03/27/15
                                          03/04/15 Page 7
                                                        4 of 13
                                                             10
Case 1:07-vv-00111-UNJ Document 128
                                119 Filed 03/27/15
                                          03/04/15 Page 8
                                                        5 of 13
                                                             10
Case 1:07-vv-00111-UNJ Document 128
                                119 Filed 03/27/15
                                          03/04/15 Page 9
                                                        6 of 13
                                                             10
Case
Case1:07-vv-00111-UNJ
     1:07-vv-00111-UNJ Document
                       Document128
                                119 Filed
                                    Filed03/27/15
                                          03/04/15 Page
                                                   Page10
                                                        7 of
                                                          of10
                                                             13
Case
Case1:07-vv-00111-UNJ
     1:07-vv-00111-UNJ Document
                       Document128
                                119 Filed
                                    Filed03/27/15
                                          03/04/15 Page
                                                   Page11
                                                        8 of
                                                          of10
                                                             13
Case
Case1:07-vv-00111-UNJ
     1:07-vv-00111-UNJ Document
                       Document128
                                119 Filed
                                    Filed03/27/15
                                          03/04/15 Page
                                                   Page12
                                                        9 of
                                                          of10
                                                             13
Case 1:07-vv-00111-UNJ Document 128
                                119 Filed 03/27/15
                                          03/04/15 Page 13
                                                        10 of 13
                                                              10
